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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

                                              )
AMPLIFY EDUCATION, INC.,                      )
                                              )
       Plaintiff-Counterclaim                 )
       Defendant,                             )
                                              )
       v.                                     ) Civil Action No. 1:13-cv-02687-LTS-RLE
                                              )
GREENWOOD PUBLISHING GROUP,                   )
INC. d/b/a HEINEMANN,                         )
                                              )
       Defendant-Counterclaim                 )
       Plaintiff.                             )
                                              )

   DECLARATION OF COSMIN MAIER, ESQ. IN SUPPORT OF DEFENDANT
GREENWOOD PUBLISHING GROUP, INC. D/B/A HEINEMANN’S OPENING BRIEF
 REGARDING THE PROPER CLAIM CONSTRUCTION OF DISPUTED TERMS IN
                  HEINEMANN’S 6,299,452 PATENT

I, Cosmin Maier, declare as follows:


   1. I am a counsel at the law firm of Wilmer Cutler Pickering Hale and Dorr LLP, 7 World

       Trade Center, 250 Greenwich St., New York, New York, 10007. I am one of the

       attorneys responsible for the representation of Defendant Greenwood Publishing Group,

       Inc. d/b/a Heinemann (“Heinemann”) in the above-captioned matter.

   2. Attached to this declaration as Exhibit 1 is a true and correct copy of excerpts from the

       file history of U.S. Patent No. 6,299,452.

   3. Attached to this declaration as Exhibit 2 is a true and correct copy of U.S. Patent No.

       6,146,147.

   4. Attached to this declaration as Exhibit 3 is a true and correct copy of an excerpt from

       Computer & Internet Dictionary (3d ed. 1999).
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   5. Attached to this declaration as Exhibit 4 is a true and correct copy of an excerpt from

       Merriam-Webster’s Collegiate Dictionary (10th ed. 1996).

   6. Attached to this declaration as Exhibit 5 is a true and correct copy of an excerpt from

       Random House Webster’s Unabridged Dictionary (2d ed. 1997).


   I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.


   Executed this 19th day of June, 2014.


                                                                   /s/ Cosmin Maier_______
                                                                   Cosmin Maier
